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UNITED STATES DISTRICT COURT

 

EASTERN DISTRICT OF MICHIGAN | i f= t
SOUTHERN DIVISION
FEB 26 208 |)
CLEAK’S OFFICE
UNITED STATES OF AMERICA, U.S. DISTRICT COURT
EASTERN MICHIGAN
Plaintiff, CRIMINAL NO. 07-20156
-Vs- HON. AVERN COHN

D-2 ELFAT EL AQUAR,

Defendant.
/

 

QRDER REVOKING UNITED STATES CITIZENSHIP
The defendant, Elfat Nadim El-Aouar, having becn convicted of Naturalization Fraud,
in violation of Title 18, United States Code, Section 1425(a), and pursuant to Title 8, United
States Code, Section 1451(e):
IT 18 ORDERED that naturalization of the defendant in the name of Elfat Nadim El-
Aouar, Alien Number A29 654 931, ordered by the Attorney General of the United States
admitting the defendant to United States citizenship on April 27, 1995, is revoked and set

aside, and the Certificate of Naturalization No. 21 520352 is cancelled.

ITIS RDERED. {,

HON. AVERN COHN
UNITED STATES DISTRICT JUDGE

 

 
